
654 S.E.2d 248 (2007)
Chad Everette CALDWELL and wife, Crystal Cope Caldwell
v.
Randy Dewitt BRANCH and Kristy N. Crawford.
No. 77P07.
Supreme Court of North Carolina.
November 8, 2007.
Malcolm B. McSpadden, Gastonia, for Branch.
R. Locke Bell, for Bell.
Prior report: 181 N.C.App. 107, 638 S.E.2d 552.

ORDER
Upon consideration of the petition filed on the 6th day of February 2007 by Defendant (Branch) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of November 2007."
